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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

DUBLIN DIVISION
IN THE MATTER OF: ) CHAPTER 7
)
PARADISE'FARMS, INC. ) CASE NO. 12-30111
)

DEBTOR )

NOTICE OF TRUSTEE'S FINAL REPORT AND
APPLICATIONS FOR COMPENSATI ON

AND DEADLINE TO OBJECT (NFR)

Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(1)(8), please'take notice that
James L. Drake, Jr. _, trustee of the above styled estate, has filed a
Final Report and the trustee and the trustee's professionals have filed final fee applications,
which are summarized in the attached Summary of Trustee's Final Report and Applications

for Compensation.

The complete Final Report and all applications for compensation are available for
inspection at the Ofiice of the Clerk, at the following address:

Lucinda B. Rauback, Clerk
U.S. Bankruptcy Court

125 Bull Street, Room 2l3
Savannah, GA 31412

Any person wishing to object to any fee application that has not already been approved or
to the Final Report, must file a written objection within 21 days from the mailing of this notice,
together with a request for a hearing and serve a copy of both upon the trustee, any party whose
application is being challenged and the United States Trustee. lf no objections are filed, the
Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009
without further order of the Court.

Date: August I¢’_, 20l8 /s/ James L. Drake, Jr.
Trustee, Bar No. 229250

Prcpnrod by;

James L. Drake, .|r,, PC
Almmcys at Law
Georg'n Bar No. 229250
Attomcys at Law

P.O. Box 9945
Savonnah, GA 31412
(912) 790']533

UST I‘_`orm 101~7-NFR (10/1/2010)

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA
DUBLlN DIVISION

In Re:

Paradise Farms, lnc. Case No. 12-301 l l

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Debtor

SUMMARY OF 'I`RUSTBE'S FINAL REPORT
AND APPLICATIONS FOR COMPENSATION

 

 

 

 

 

 

 

 

 

The Final Report shows receipts of $ 52,]46.22
and approved disbursements of $ 24,695.38
leaving a balance on hand ofl $ 27,450.84
Claims of secured creditors will be paid as follows:
Allowed lnterim
Amount of Payment to Proposed
Claim No. Claimant Claim Asserted Claim Date Payment
8 B & S Air, lnc. $ 2.090.59 $ 2.090.59 $ 0.00 $ 0.00
Total to be paid to secured creditors $ 0.00

Remaining Balance

$ 27,450.84

Applications for chapter 7 fees and administrative expenses have been filed as follows:

 

 

 

 

 

 

 

 

 

 

lnterim Payment Proposed

Reason/Applicant Total Requested to Date Payment
Trustee Fees: JAMES L. DRAKE, JR. $ 5.857.31 $ 0.00 $ 5.857.31
Trustee Expenses: JAMES L. DRAKE, JR. $ 372.8] $ 193.05 $ 179.76
Attorney for Trustee Fees: James L. Drake
Jr., P.C. $ 12.293.50 $ 8.755.00 $ 3.538.50
Attorney for Trustee Expenses: lames L.
Drake Jr.,P.C. $ 580.28 $ 453.78 $ 126.50
Charges: Clerk of Court $ 352.00 $ 0.00 $ 352.00

 

The balance of funds on hand in the estate may continue to earn interest until disbursed The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category The trustee may receive additional compensation not io exceed the
maximum compensation set forth under ll U'S.C. §326(a) on account of the disbursement of the additional interest

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lnterim Payment Proposed

Reason/App|icant Total Requested to Date Payment
Fees: Oi`fice Of The United States Trustee $ 325.00 $ 0.00 $ 325.00
Other: Iri Line Credit. lnc. $ 5.200.00 $ 5_200.00 $ 0.00
Other: In Line Credit, lnc. $ 1.775.00 $ lt775.00 $ 0.00

 

 

 

$ 10,379.07

Total to be paid for chapter 7 administrative expenses

Remaining Balance $ 17,071.77

Applications for prior chapter fees and administrative expenses have been filed as follows:

NONE

ln addition to the expenses of administration listed above as may be allowed by the Court,
priority claims totaling $ 56.97 must be paid in advance of any dividend to general (unsecured)
creditors.

Allowed priority claims are:

 

 

 

 

 

 

 

 

 

Allowed Amount lnterim Payment to
Claim No. Claimant of Claim Date Proposed Payment
Cio lntemal Revenue
l Service $ 56.97 $ 0.00 $ 56.97
'I`otal to be paid to priority creditors $ 56.97

Remaining Balance $ 17,014.80

The actual distribution to wage claimants included above, if any, will be the proposed payment
less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

Timely claims of general (unsecured) creditors totaling $ 831,605.35 have been allowed and
will be paid M _ra£ only after all allowed administrative and priority claims have been paid in full. The
timely allowed general (unsecured) dividend is anticipated to be 2.] percent, plus interest (if
applicable).

Timely allowed general (unsecured) claims are as follows:

 

 

 

 

 

 

 

Allowed Amount lnterim Payment to
Claim No. Claimant of Claim Date Proposed Payment
American Express Bank
2 Fsb $ 679.06 $ 0.00 $ 13.89

 

 

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Allowed Amount lnterim Payment to
Claim No. |Claimant - of Claim Date Proposed Payment
l American Express Bank

3 Fsb $ 1.087.93 $ 0.00 $ 27 76
American Express Bank

4 1 Fsb $ 66.426.55 $ ‘ 0.00 $ 1.359.10

. Emory Adventist

5 Hospital ' $ 722.23 $ 0.00 $ 14.78
Aca Aggeorgia Farm l

6 Credit $ 762,688.58 $ 0.00 $ 15.604.75
United States .

9 Environmental - $ 0.00 $ 0.00 $ 0.00

ii saraiand Lllp s 1.00 s 0.00 $ 0.02 `

Total to be paid to timely general unsecured creditors

$ 17,014.80

Remaining Balance $ 0.00

Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
be paid @ La_ta_ only after all allowed administrative, priority and timely filed general (unsecured) claims
have been paid in f`ull. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if`
applicable).

Tardily filed general (unsecured) claims are as follows:
NONE

Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
subordinated by the Court totaling $ 0.59 have been allowed and will be paid 359 ;g_t_a only after all '
allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if` applicable).

Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
subordinated by the Court are as follows:

 

 

 

 

 

 

 

 

 

Allowed Amount lnterim Payment to
Claim No. Claimant of Claim Date Proposed Payment
lU lntemal Revenue Service $ 0.59 $ 0.00 $ (i.OO
Torai to be paid to subordinated unsecured creditors ' s 0.00,
Remaining Balance ' $ 0.00

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Prepared By: /s/ J ames L. Drake. Jr.
Trustee

_ JAMES L. DRAKE, JR.
P.O. BoX 9945
Savannah, GA 3 1412

STA'IEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.

UST Form lOl-7-`N`FR (10/1/2010) (Page.' 5 )

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UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

DUBLlN DIVISIoN
IN THE MATTER 0F: ) CHAPTER 7
)
PARADISE FARMS, INC. ) CASE No. 12-30111
)
DEBToR )
CERTIFICATE 0F sERVICE

This is to certify that I have this date served the foregoing, NOTICE OF TRUSTEE’S
FINAL REPORT AND APPLICATIONS FOR COMPENSATION AND DEADLINE TO
OBJECT (NFR) AND SUMMARY OF TRUSTEE’S FINAL REPORT AND
APPLICATIONS FOR COMPENSATION, by CM/ECF and/or by depositing same in the
United States Mail with sufficient postage affixed thereon, to those addressed below:

Edward B. Claxton, III
Edward B. Claxton III, LLC
P O Box 16459

Dublin, GA 31040

Paradise Farms, Inc.
415 North Tift Avenue
Tifton, GA 31794

Matthew E. Mills, Asst. U.S. Trustee AND ALL PARTIES LISTED ON
Of`fice of the United States Trustee ATTACHED MAILING MATRIX
Johnson Square Business Center

2 East Bryan Street, Suite 725

Savannah, Georgia 31412

DATED at Savannah, Georgia, this 16th day of August, 2018.

 

 

 

Prepared by: /S/ JHI‘HCS L. Drak€, JI°.
HESR:§';K§§' J ames L. Drake, Jr., Trustee/Attorney for Trustee
P.o.aox 9945 Georgia Bar No. 229250

SAvANNAH,GA 31412
(912)790-1533

 

 

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Label Matrix for local noticing

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Case 12-30111-808

Southern District of Georgia
Dublin

Wed Aug 15 17:00:47 EDT 2018

AgGeorgia Farm Credit, ACA
c/o John T. McGoldrick, Jr.
Martin Snow, LLP

P.O. Box 1606

Macon, Georgia 31202-1606

B & S Air, Inc.

c/o David A. Garland

Moore, Clarke, DuVall 6 Rcdgers, P.C.
P. 0. Drawer 11727

Albany, GA 31708-1727

Rickie Lee Brown Jr

Moore, Clarke, DuVall & Rodgers, PC
2829 01d Dawson Road

P 0 Drawer 71727

Alhany, GA 31708-1727

Colony Bank
Post O£fice Box 989
Fitzgerald, GA 31750-0989

EMORY ADVENTIST BOSPITAL

C/O KEVIN B. WILSON LAH OFFICES
2810 WALKER ROAD, SUITB 102
CHATTANOOGA, TENNESSEE 37421-1082

David A. Garland

Moore, Clarke, DuVall & Rodgers, PC
P. 0. Box 71727

Albany, GA 31108-1727

Lister Harrell

c/o Roy Rankin

415 Tift Avenue
Tifton, GA 31794-4465

Daniel M. King Jr.
King Law Group

617 Bellevue Avenue
P 0 Box 4329

Dublin, GA 31040-4329

Merrill & Stone, LLC
Post Office Box 129
Swainaboro, GA 30401-0129

AgGeorgia Farm Credit, ACA
c/o John T. EcGoldrick, Jr.
P 0 Box 1606

Macon, GA 31202-1606

American Express
P.O. Box 650448
Dallas, TX 75265-0448

B 6 S Air, Inc.
c/o David A. Garland, Esq.

Hoore, Clarke, DuVall 6 Rodgers, P.C.

P. 0. Drawer 11727
Albany, GA 31708-1727

Edward B. Claxton III
Edward B. Claxton III, IJ£
P 0 Box 16459

Dublin, GA 31040-6459

Colony Bank

c/o John T. McGold:ick, Jr.
Hartin Snow, LLP

P.O. Box 1606

Macon, Georgia 31202-1606

F 6 W Forestry Services, Inc.
c/o David A. Garland, Esq.

Moore, Clarke, DuVall & Rodgers, P.C.

P. 0. Drawer 71727
Albany, GA 31708-1727

Lister Rarrell
415 North Tift Avenue
Tifton, GA 31794-4465

INTERNAL REVENUE SERVICE, CIO
P.O. BOX 7346
PHILADELPHIA, PA 19101-7346

l»tartin F. McDermott

U. S. Departmant of Justice
ENRD

601 D. Street NW
Hashington, DC 20530-0034

Matthew E. Mills

Office of The U S Trustee
Johnson Square Business Centec
2 East Bryan St., Ste 725
Savannah, GA 31401-2638

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AgGeorgia Fam Credit, ACA
c/o John T. McGoldrick, Jr.
Martin Snow, LLP

P. 0. Box 1606

Macon, GA 31202-1606

American Express Bank FSB
c/o Becket and Lee LLP
POB 3001

Malvern PA 19355-0701

Bank of Eastman
PO Box 909
Eastman, GA 31023-0909

Colony Bank
P 0 Box 1606
Macon, GA 31202-1606

James L. Drake Jr.
P. 0. Box 9945
Savannah, GA 31412-0145

Darien Fremont
P.O. Box 164
Woodland Park, CO 80866-0164

Lister Harrell
P.O. Box 10
Cadvell, GA 31009-0010

Dan King
P.O. Box 4329
Dublin, GA 31040-4329

John T. McGoldrick Jr.
Martin Snow, LLP

240 Third St., P 0 Box 1606
Macon, GA 31202-1606

Oakley
1 Icon
Foothill Ranch, CA 92610-3000

CaSe:lZ-SOlll-SDB
Office cf The United States Trustee

Johnson Square Business Center
2 East Bryan Street, Suite 725
Savannah, GA 31401-2638

James C. Overstreet Jr.
Klosinski 0verstreet, LLP
1229 Augusta West Parkway
Augusta, GA 30909-1807

Saraland, LLLP
PO Box 4116
Eastman, GA 31023-4116

Shawna Y. Staton

James L. Drake, Jr., PC

7 E Congress St, Ste 901
P 0 Box 9945

Savannah, GA 31412-0145

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Office of the U. S. Trustee
Johnson Square Business Center
2 East Bryan Street, Ste 725
Savannah, GA 31401-2638

Paradise Farms, Inc.
415 North Tift Avenue
Tifton, GA 31794-4465

(p)SKULLCANDY INC
6301 N LANDMARK DR
PARK CITY UT 84098-6439

United States Environmental
Protection Agency

c/o Martin F. MbDermott
P.O. Box 7611

Washington, DC 20044-7611

James C. Overstreet Jr.
Klosinski 0verstreet, LLP
#7 George C Hilson Ct
Augusta, GA 30909-6593

Sarsland LLLP

Todd Boudreaux Chapter 11 Trustee
7013 Evans Town Center Boulevsrd
Suite 303

Evans, GA 30809-4215

Sligh Environmental Consulting, lnc.
31 park Commerce Way, Suite 200 B
Savannah, GA 31405-7421

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g)(4).

Skullcandy
1441 West UTE Blvd
Park City, Utah 84098

The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (dl address.

(d)AgGeorgia Farm Ccedit, ACA
c/o John T. McGoldrick, Jr.
Martin Snow, LLP

P.O. Box 1606

Macon, Georgia 31202-1606

(u)Lister W. Harrell

End of Lahel Matrix

Mailable recipients 40
Bypassed recipients 6
Total 46

(d)Bank of Eastman
Pcst Office Box 909
Eastman, GA 31023-0909

(d)Lister Harrell
P.O. Box 10
Cadwell, GA 31009-0010

(d)James L. Drake Jr.
P. 0. Box 9945
Savannah, GA 31412-0145

(u)United States Environmental Protection Age

